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                           Exhibit
                                    4
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   July 22, 2019

   VIA FEDEX and EMAIL: landeal@gmail.com
   Mr. Nicholas Cocuzza
   Cocuzza Construction Group, L.L.C. dba Sandy Hook Rentals
   40 Mead Street
   Berkeley Heights, NJ 07922

   Re: Markos v. Cocuzza Construction Group, L.L.C. dba Sandy Hook Rentals
       Our File No.: 00520-0010


   Dear Mr. Cocuzza,

   We write on behalf of our client Steven LaMont Markos, a photographer, for purposes of
   resolving a case of copyright infringement against you by our client. This demand is
   privileged from disclosure pursuant to FRE Rule 408.

   Please provide this letter to your general liability insurance carriers or other providers of
   insurance that may cover this claim.

   Steven LaMont Markos (“Markos”)
   Our client is an experienced professional photographer who makes a living from
   photography. Markos owns and operates the website, National Park Planner,
   www.npplan.com. Markos started National Park Planner in 2014 to bring to the public
   first-hand coverage of the over 400 National Parks that make up America’s National
   Park System, including summaries of the park’s amenities and professional photographs
   of the terrain.

   Markos retains all copyrights to his photographs. Markos licenses his copyrighted
   Works, such as the ones in this case, for commercial use.

   One of the Works at issue is shown below. The other five are attached. At the time the
   Works were created, Markos applied Copyright Management Information to the images.
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   Cocuzza Construction Group, L.L.C. dba Sandy Hook Rentals
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   Markos registered the Works with the Register of Copyrights on October 3, 2017 and
   was assigned the registration number(s) VA 2-073-596, a copy of which is enclosed.

   Infringement by Cocuzza Construction Group, L.L.C. dba Sandy Hook Rentals (“CCG”)
   The infringement at issue was identified on January 11, 2019. We have enclosed
   contemporaneous evidence of the infringement by CCG.

   You have employed our client’s Works in at least the manner indicated in the evidence
   attached. Your unauthorized use commenced on at least the date indicated above. You
   are fully aware that the Works you used are our client’s Works. No one from your
   company ever sought a license from our client to use the Works for any purpose.

   You have copied, displayed and distributed our client's Works without permission,
   license or consent. The use of a creator's photographic image without written consent or
   license violates the United States Code, Title 17, and The Copyright Act. The Copyright
   Act provides for entry of an injunction directing removal of the offending materials
   pending litigation. This letter shall serve as formal notice that you immediately cease
   and desist all unauthorized uses of our client’s Works. Any such further uses shall be at
   your peril.

   If you possess a contract, license, agreement or writing on which you will rely for
   authorization of your use of our client’s Works, please provide us with this evidence so
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   Cocuzza Construction Group, L.L.C. dba Sandy Hook Rentals
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   we may avoid further controversy or litigation. Otherwise, we will be forced to assume
   that your use violated the law.

   Damages
   Copyright law provides several different elements of compensation to Markos when a
   work is infringed or altered. Section 504 permits Markos to recover actual damages plus
   “any additional profits of the infringer that are attributable to the infringement and are
   not taken into account in computing the actual damages,” or statutory damages of up to
   $150,000 per work infringed if the registration predated the infringement. Markos can
   present both damages theories to the jury and select the higher award any time prior to
   entry of judgment.

   Academic studies have demonstrated that the use of good quality photographs more
   effectively market and advertise products and drive sales. Markos’s photographs are of
   the highest quality. Markos’s photographs are also scarce since he is one of the only
   sources of such quality photographs.

   Markos’s damages are not limited to what he would have agreed to license the Works
   for prior to the infringement. Rather, Markos’s actual damages will be measured by the
   fair market value of the photograph considering CCG’s use to sell and promote its
   business. Markos’s actual damages must be measured in light of CCG’s use of Markos’s
   high quality and unique Works.

   This is consistent with federal courts’ approach to broadly construing the term “actual
   damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
   (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
   approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
   Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
   addition, Markos can offer evidence of the actual cost to take the photograph infringed
   on a time and materials basis.

   Section 504 of the Copyright Act permits Markos to recover actual damages plus “any
   additional profits of the infringer that are attributable to the infringement and are not
   taken into account in computing the actual damages.” Therefore, Markos will also be
   entitled to CCG’s profits from the infringement, based upon the revenue CCG earned in
   connection with the use of Markos’s Works.

   Alternatively, Markos could seek statutory damages for infringement in an amount of
   up to $30,000 per work infringed if the registration predated the infringement. There is
   also the possibility that a judge or jury could determine that CCG’s infringement was
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   Cocuzza Construction Group, L.L.C. dba Sandy Hook Rentals
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   willful. If CCG’s infringement was shown to be willful, the statutory damage award
   would increase to an amount up to $150,000 per work infringed.

   Demand
   In order to determine how to proceed, please provide us with information and
   documents showing:

    1.    the full nature and extent of the use of our client's Works, in any and all formats;

    2.    representative copies in any and all tangible form and media in which our
          client's Works were incorporated or employed; and

    3.    the source of the Works.

   Upon receipt of this information we will consider and determine an appropriate amount
   required to be paid to our client in compensation.

   Please carefully consider this letter and the associated exhibits and provide them to your
   attorneys and insurance carriers. If we do not receive a response from you or a
   representative by August 5, 2019, we will take further steps to protect our client’s rights.
   We look forward to your prompt response.

   Sincerely,

   SRIPLAW




   Joseph A. Dunne

   JAD/ld
   Enclosures
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Certificate of Registration
                   This Certificate issued under the seal of the Copyright
                   Office in accordance with title v,United States Code,
                   attests that registration has been made for the work
                   identified below The information on this certificate has
                                                                                    Registration Number
                   been made a part of the Copyright Office records.
                                                                                    vA 2-073-s96
                                                                                    Effective Date of Registration:
                                                                                    October 03,2011

                   ffip,,*-,sandDirector
   Title
                     Title of Work:     Group Registration Photos, National Park Planner, published July 16, 2017 to
                                        September 26, 2017 ; 686 photos

                     Content Title:     Edison-O01 to Edison-055. Julv 16. 2011

                                        Morristown-001 to Morristown-018, July 31,2017; Morristown-020 to
                                        Morristown-050, July 31,2017; Morristown-052 to Monistown-079, July 3i,
                                        2017; Morristown-O81 to Morristown-096, July 3l,20lj; Morristown-098 to
                                        Morristown- I 39, July 3 I, 2011 ; Morrisrown- l4 1, July 3 l, 20 lj ; Morrisrown-
                                        143, July   31,2011 Moristown-145, July 31,2017;Morrisrown-147 to
                                        Morristown- 154, July 31, 2011

                                        Gateway-001 to Gateway-007, September 23,2017; Gateway-009 to Gareway-
                                        017, September 23,2011; Gateway-019 to Gateway-077, September 23,201j;
                                        Gateway-O80 to Gateway- 128, September 23, 20li ; Gateway- I 30 to Gateway-
                                        1 39, Septemb er 23, 2011 ; Gateway- 14 1 ro Gateway- 1 48, Septembe r 23, 201 1
                                                                                                                         ;
                                        Gateway- 1 50, September 23, 20 17 ; Gatew ay - 1 52 ro Gareway-   1   7   8, September
                                        23, 2017 ; Gateway- I 80 to Gateway- 1 84, September 23, 201'/ ; Gateway- I 86 to
                                        Gateway-399, September 23, 2011 ; Gateway-4O1 to Gateway,478, September
                                        23.2011

                                       Federal-Hall-O01 to Federal-Hall-O16, September 26,2011; Federal-Hall-018,
                                       September 26,2011


  Com pletion/Pu bl ication
               Year of Completion: 2011
            Date of lst  Puhlication: July 16, 2oll7
           Nation of I't Publication: United States

  Author

                 o          duthor:    Steven LaMont Markos
                 Author Created:       photograph
              Work made for hire:      No
                        Citizen of:    United States
                      Domiciled in:    United States
                       Year Born:       1964


  Copyright Claimant

                                                                                                                        Page   I of 2
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            Copyright Claimant: Steven LaMont Markos
                                 2606 Waters Edge Trail, ltpswell, GA, 30075, United States




 Rights and Permissions

                        Name:    Steven LaMont Markos
                        Email:   info@npplan.com
                     Telephone: (404)652-0532
            '   Alt. Telephone: (404)652-0532
                      Address: 2606 Waters Edge Trail
                                 Roswell, GA 30075 United Srates

Certification
                        Name:    Steven LaMont Markos
                                                                                                                       E
                         Date:   October 03,2011

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